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                              UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


  IN RE: ROUNDUP PRODUCTS                           Case No. 16-md-02741-VC
  LIABILITY LITIGATION

                                                    ORDER DENYING MOTIONS TO SET
  This document relates to:                         ASIDE JUDGMENT

  Matthus-Shelton v. Monsanto Co.,
                                                    Re: Dkt. No. 27 (Hann);
  Case No. 20-cv-168-VC
                                                        Dkt. No. 26 (Matthus-Shelton)
  Hann v. Monsanto Co.,
  Case No. 20-cv-7213-VC




       The plaintiffs in these cases failed to disclose a specific causation expert, so Monsanto’s

summary judgment motions were granted. The plaintiffs now seek to set aside those judgments

under Federal Rule of Civil Procedure 60(b)(6).

       Hann argues that she was not aware that an expert was required “to prove Plaintiff’s

cancer was caused by her exposure to Roundup.” Dkt. No. 27 (Hann Mot.) at 3. This legal

mistake by counsel may give rise to a malpractice claim by the client, but it is not a reason to set

aside the judgment.

       Matthus-Shelton made the same meritless argument on summary judgment. Now, for the

first time, Matthus-Shelton mentions that she was waiting for a determination on whether she

could participate in the Settlement Program. Dkt. No. 26 (Matthus-Shelton Mot.) at 3. She never

mentioned this fact in her opposition to Monsanto’s summary judgment motion nor did she

request a stay of the motion. All along, she argued that no specific causation expert was needed.
Again, Matthus-Shelton may well have a malpractice claim, but she has not offered a legitimate
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reason to set aside the judgment against her for failing to disclose a specific causation expert.

       The motions to set aside judgments are denied.

       IT IS SO ORDERED.



Dated: March 3, 2023
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge




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